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a)
Attorneys for Defendants, CITY OF EL MONTE, a Public Hntity> RENE
BOBADILLA, a Public Employee; THOMAS ARMSTRONG, a Public

Employee; STEVE SCHUS , a Public Employee; SANTOS HERNANDEZ, a
Public Employee _

UNITED STATES DISTRICT COURT ;
CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION

BRIAN GLICK, Cy $8297 Ak Bravo)

Plaintiff,
Vv. NOTICE OF REMOVAL OF CIVIL
CITY OF EL MONTE, a municipal | “CTION
corporation; RENE BOBADILLA

individually and as Ci Manager for
the City of El Monte; THOMAS
ARMSTRONG, individually and as |
Chief of Police for the El Monte Police
Department; KEN WELDON,
individual and as Chief of Police for the
El Monte Police Department; STEVE
SCHUSTER, individually and as

; ~~" " * Chief of
Police for the El Monte Police
Department; MARCIE VAIL,
individually and as Police Captain for
the El Monte Police Department,
SANTOS HERNANDEZ, individually
and as Police Lieutenant for the El
Monte Police Department, and DOES 1
through 10, inclusive,

Defendants.

 

TO THE CLERK OF THE COURT:
PLEASE TAKE NOTICE that Defendants, a public entity, and its public
employees, Rene Bobadilla, Thomas Armstrong, Steve Shuster, and Santos

Hernandez hereby removes to the Court the state action described below.

-J-
NOTICE OF REMOVAL OF CIVIL ACTION

 
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1. On April 4, 2012, a complaint was filed in Superior Court of the State
of California in the County of Los Angeles, LASC case no.: BC481980 entitled
Brian Glick, Plaintiff vs. CITY OF EL MONTE, a municipal corporation; RENE
BOBADILLA, individually and as City Manager for the City of El Monte;
THOMAS ARMSTRONG, individually and as Chief of Police for the El Monte
Police Department; STEVE SCHUSTER, individually and as Captain, Assistant
Chief and Chief of Police for the El Monte Police Department; SANTOS
HERNANDEZ, individually and as Police Lieutenant for the El Monte Police
Department, and DOES I through 10, inclusive, which is attached as Exhibit “A”
hereto. A copy of the summons is attached as Exhibit “B” hereto.

2. Defendant, City of El Monte, and its individual employees, Rene
Bobadilla, Thomas Armstrong, Steve Schuster, Santos Hernandez were properly
served with the complaint on July 31, 2012.

3. This is an action of which this Court has original jurisdiction under 28
U.S.C. § 1331 and is one which may be removed by this Court by all Defendants,
under 28 U.S.C.§1441 (b), in that the Plaintiff ‘s Second Cause of Action arises
under and alleges an action for “Free Speech Retaliation” against all defendants
pursuant to 42 U.S.C. §1983 Free Speech Retaliation against all Defendants.
“Federal question jurisdiction exists if the "well-pleaded complaint establishes
either that federal law creates the cause of action or that the plaintiff's right to relief
necessarily depends on resolution of a substantial question of federal law."
Franchise Tax Bd. v. Construction Laborers Vacation Trust, 463 U.S. 1, 27-28,
(1983)...When a federal question is present on the face of the complaint, the
district court has original jurisdiction and the action may be removed to federal
court. See Caterpillar, Inc. v. Williams, 482 U.S. 386, 392-93(1987).” Randy
Williams v. Ragone 147 F.3d 700 (8" Circuit 1998)

4. That Plaintiff's Second Cause of Action alleges an action for “Free
Speech Retaliation” alleges that the Plaintiff made statements regarding

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NOTICE OF REMOVAL OF CIVIL ACTION

 
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improprieties related to the actions of his fellow employees in his capacity as the
Acting Captain. Plaintiff alleges that he was retaliated against as a result of making
statements adverse to the individual interests of the police department employees.
"(T]he presence of even one federal claim gives the defendant the right to remove
the entire-case to federal court." Gaming Corp., 88 F.3d at 543. City of Chicago v.
International College of Surgeons, 118 S.Ct. 523, 529, 139 L.Ed.2d 525 (1997).
Where at least one federal claim is involved, federal courts have supplemental
jurisdiction over state law claims that are so related to the federal claim that they
form part of the same case or controversy. See 28 USC § 1367(a). By raising
claims that arise under federal law, Glick subjected himself to the jurisdiction of
the federal court.

6. Therefore, this Court has original jurisdiction under “Free Speech
Retaliation” pursuant to 42 U.S.C. §1983 and the case law cited above.

7. All Defendants are entitled to remove this action to this Court pursuant
to 28 U.S.C.§1441 (b).

8. The Superior Court for the County of Los Angeles, Central
Courthouse is located in the Central District- Western Division and therefore this

Court is the proper court for the removal of this action.

Dated: August 29, 2012 DOUMANIAN & ASSOCIATES

 

 

NANCY P. DOURTANTAN: ESQ.
Attorneys for Defendants,

CITY OF EL MONTE, a Public Entity; RENE
BOBADILLA, a Public Employ ee; THOMAS
ARMSTRONG, a Public Employee; STEVE
SCHUSTER, a Public Employee, SANTOS
HERNANDEZ, a Public mployee

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NOTICE OF REMOVAL OF CIVIL ACTION

 
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EXHIBIT “A”
— Case 2:12-cv-07443-PSG-VBK Document1 Filed 08/29/12 Page5of27 Page ID#18

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SUM-200(A)

 

SHORT TITLE: CASE NUMBER:
__. Glick v. City of El Monte

 

 

 

 

INSTRUCTIONS FOR USE

> This form may be used as an attachment to any summons if space does not pemnit the listing of all parties on the summons.

+> if this attachment is used, insert the following statement in the plaintiff or defendant box on the summons: “Additional Parties
Attachment form is attached."

List additional parties (Check only one box. Use a separate page for each type of party,):
[_]  Plaintitt Defendant [_] Cross-Compliainant [_ ] Cross-Defendant

THOMAS ARMSTRONG, individually and as Chief of Police for the El Monte Police Department; KEN
WELDON, individually and as Chief of Police for the El Monte Police Department: STEVE SCHUSTER,
individually and as Chief of Police for the El Monte Police Department; MARCIE VAIL, individually and as
Police Captain for the El Monte Police Department; SANTOS HERNANDEZ, individually and as Police
Lieutenant for the El Monte Police Department, and DOES | THROUGH 10 INCLUSIVE,

 

 

Defendants.
Page 2 of 2
Form Adoptad tor Marxiatory Usa Page tet
dudiesal Councd ot Catifornna ADDITIONAL PARTIES ATTACHMENT

SUM-200{A) (Rev, Janusty 1 2007} Attachment to Summons American LegaiNet, Inc
wees Forms Workflow com

 

 
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Attorneys for Plaintiff,
BRIAN GLICK

SUPERIOR COURT OF THE STATE OF CALIFORNIA
COUNTY OF LOS ANGELES ~ EAST DISTRICT

BRIAN GLICK,
Plaintiff,
vs.

CITY OF EL MONTE, a municipal corporation;
RENE BOBADILLA, individually and as City
Manager for the City of El Monte; THOMAS
ARMSTRONG, individually and as Chief of
Police for the E] Monte Police Department; KEN
WELDON, individually and as Chief of Police
for the El Monte Police Department; STEVE
SCHUSTER, individually and as Chief of Police
for the El Monte Police Department; MARCIE
VAIL, individually and as Police Captain for the
El Monte Police Department; SANTOS
HERNANDEZ, individually and as Police
Lieutenant for the El Monte Police Department,
and DOES | THROUGH 10 INCLUSIVE,

Defendants.

 

 

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LOS ANGELES
SUPERIOR COURT

CaseNo: KL, O8 3495 K

COMPLAINT FOR DAMAGES AND
DECLARATORY AND INJUNCTIVE
RELIEF

DEMAND FOR JURY TRIAL

CASE ASSIGNED FOR
ALL PURPOSES TO
JUDGE ROBERT A. DUKES,

DEPT. BR weed

 

 

 

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i L. Glick, at all times relevant to this complaint, was employed by the City of El

2 || Monte as a peace officer pursuant to Cal. Penal Code Section 830.1. As such, Glick is/was

3 || entitled to the benefits and protections of the Public Safety Officers Procedural Bill of Rights

4 || Act, located at Cal. Gov’t Code Sections 3300 et seq. Glick’s home address is confidential under
5 |i Cal. Penal Code Sections 146(e) and 832.7, and Cal. Vehicle Code Section 1808.4(a)(11).

2. Defendant City of El Monte (“the City”) is a duly constituted municipal
corporation operating under the Jaws of the State of California, wholly situated in the County of

Los Angeles. El Monte Police Department (“the Department”) is an operating department of the

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City. At all times relevant herein for all purposes connected with the management of
{0. |}employment relations matters within the El Monte Police Department, the City delegated its final
I! || policy-making authority to Defendants Thomas Armstrong, Steve Schuster, Ken Weldon and

12 || Rene Bobadilla. City adopted and ratified each of their decisions as alleged herein as its own

13 |] policies, customs, practices or decisions, as if the same had been promulgated directly by the

14 {} City.

15 3. Defendants Thomas Armstrong (“Armstrong”), Ken Weldon (“Weldon”) Steve
16 {| Schuster (“Schuster”) are/were the Chiefs of Police for the El Monte Police Department, and

17 || maintained this position at times relevant to this complaint. Rene Bobadilla (“Bobadilla”) was
18 || the City Manager for the City of El Monte. Defendant Santos Hernandez is a Lieutenant and or
19 || Captain for the El Monte Police Department at all times relevant to this complaint. In doing the
20 |} things alleged herein, these individuals acted under color of state law, within the course and

21 || scope of their employment, and as an official policy-makers for the City. As Department Heads
22 |) and high cranking officials, these individuals are vested with policy-making authority over actions
23 || such as the ones at issue in this complaint.

24 4, Defendant DOES 1 through 10 are not known or identified at this time. On
25 || information and belief, Plaintiff alleges that each Doe is in some manner responsible for the
26 || wrongs alleged herein, and that each such Defendant advised, encouraged, participated in,

27 || ratified, directed, or conspired to do, the wrongful acts alleged herein. When the true names and

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COMPLAINT

 

 

 

 
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| |{ capacities of said Defendants become known, Plaintiff will seek relief to amend this complaint to
2 |) show their true identities in place of their fictitious names as DOES | through 10.
3 5. Defendants, and each of them, were the agents, employees and servants of every
4 |} other Defendant. Defendants acted in the course and scope of said agency, service and
3 |] employment at all relevant times.
6 6. Defendants and employees and agents of Defendants have discriminated, harassed|
7 jj and retaliated against Glick for the lawful exercise of his individual civil rights and liberties of
8 || free expression and participation in labor, union, and political activities, and his reporting of
9 || violations of state and federal law and other matters of public concern. Defendants have targeted
10 || Glick due to these lawful actions. Glick has repeatedly complained about this treatment to his
If {| superiors, including Defendants.
12 7. After taking office as EMPOA President, Glick engaged in numerous political,
{3 || social and other causes for the betterment of the employees and the public. He was instrumental
14 |] in contract negotiations and handling significant employment matters within the Department. In
15 || furtherance of these activities, he was required to make public commentary about matters

16 || occurring within the Department and take stances on various issues crucial to the EMPOA

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17 || members.

18 &. In addition, in or about 2008, Glick was approached by several EMPOA members
19 || who were under the direct supervision of Defendant Hernandez. The members reported several
20 || instances of misconduct on Hernandez’ part, including officer safety issues placing officers in

21 |] harm’s way, theft of public funds, and unlawful ordering employees not to contact their EMPOA
22 || representatives. Glick submitted a two-page memorandum to Defendant Armstrong outlining

23 || several of the concerns and violations alleged by Glick and the EMPOA. Glick also sat down

24 || with Armstrong and Assistant-Chief Schuster to discuss the memo. Later, in or about 2009,

25 || Glick testified about the contents of the 2008 memo during a civil proceeding brought by another
26 || EMPOA Board member against Defendant Hernandez.

27 9. Further, Glick was also instrumental in the arrest of a controversial businessman

 

28 |] in El Monte. Based on information and belief, at all times relevant to this action, John Leung

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COMPLAINT

 
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1 {| was the owner/CEO of Titan Group, the largest real estate developer for the City of El Monte. In
2 || or about 2008, Glick participated in an investigation involving real estate developer John Leung.
3 || wherein Leung was being investigated as a defendant in a forgery/fraud case. The facts
4 || supported allegations that Leung was issuing checks from an El Monte Chamber of Commerce
5 || bank account, of which Leung was not authorized to withdraw funds. The investigation was
6 || prompted by a victim who contacted the Financial Crimes Unit through an intermediary.
7 10. Based on information and belief, the 2008 criminal investigation of John Leung
8 || was transferred to the Los Angeles Sheriff’s Department. In or about 2008, Glick and Detective
9 || Eric Walterscheid met with El Monte City Attorney Clarke Mosley. During the meeting, Mosley,
10 || stated that he felt that union groups in El Monte had too much power and that if it were up to .
Lf || him, he would smash them all and take their power. However, he went on to tell them that he
12 |} needed their help to pass a bond measure.
13 11. On or about April 8, 2009, Glick was contacted regarding another criminal
14 |} investigation of John Leung, this time involving allegations of forgery and embezzlement. The
15 || investigation began when victims contacted Detective Rick George, who in turn contacted Glick
16 |/ to assist with the investigation. On or about April 14, 2009, Glick initiated a formal
17 || investigation regarding the allegations against John Leung.
18 12. On or about April 22, 2009, Glick and his partner, Detective George, attended a
19 |{ prearranged meeting between Leung and the alleged victims. Plaintiff recorded both audio and
20 |} video of John Leung admitting to the forgery of loan documents and theft of over 1.4 million
2t |} dollars.
22 13. On or about April 30, 2009, Glick took the case to the FBI office in the city of
23 |; West Covina and met with an FBI Special Agent to discuss possible violations of federal crimes.
24 || On May 20, 2009, Glick and Detective George submitted the completed crime report regarding
25 || the forgery/embezzlement allegations against John Leung and Jean Jang of Titan Group. The
26 || report was approved by the supervisor of the Detective Bureau.
27 14. On or about June 19, 2009 arrest warrants were issued in the Los Angeles
28 {| Superior Court for the arrests of John Leung and Jean Jang based on Glick’s investigation. The
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1 || same day, Glick and another detective arrested Leung pursuant to the warrant. Jang was arrested

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the following day. Within an hour of booking Leung, Glick met with Lieutenant Fetner in
Fetner’s office. During the conversation, Fetner expressed his concern that the arrest of Leung
would be perceived by the administration as having been politically motivated by the EMPOA.
15. On or about June 20, 2009, search warrants were issued in the Los Angeles
Superior Court for a search of the Titan building for documents related to the criminal
investigation against Leung and Jang. Several individuals participated in the search, including

Glick, Lt. Fetner, and Detective Fisher. During the search, Lt. Fetner received a cell phone call

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Chief Armstrong, who explained that he was on his way to the search site from his personal

10 jj residence. Glick pointed out how unusual it was for the Chief of Police to respond to a search

11 || warrant, particularly on a weekend. Lt. Fetner agreed but chose not discuss it any further,

12 || explaining instead that the Chief would discuss the matter when he arrived.

13 16. | When Armstrong arrived onscene, he called Lt. Fetner. Fetner told Glick that the
14 || Chief wanted to meet with Glick alone. Glick went downstairs with Fetner and met with the

15 || Chief, who seemed very uncomfortable and uneasy. As they spoke, other detectives were in the
16 || area loading collected evidence into the vehicles. The Chief asked the rhetorical question, “We
17 || always knew he was shady, didn’t we?” The Chief told Glick that the City was requesting

18 || binders that were located in the Titan Group office upstairs. Armstrong named and described the
19 ]| binders after calling City Attorney Dave Gondeck to get the information about the binders. The
20 || Chief told Glick the binders contained information regarding the procedures for removing Leung
21 || and Jang as managing members of numerous LLCs related to City development. Armstrong

22 || became frustrated after Glick pointed out how unusual it seemed that the City, as a LLC member.
23 || would not have copies of the binders. The Chief told Glick that Glick would have to ask himself
24 |/if retrieving the folders would be ethical. Glick posed the question back to the Chief. Armstrong
25 |j said, “You'll have to ask yourself.” The Chief then left the scene, telling Glick, “Goad job.”
26 17. Because of the unusual nature of Armstrong’s request, and because the binders
27 |} ultimately fell under the purview of the search warrant, Glick asked Lt. Fetner if retrieving the

28 || binders would be appropriate. Lt. Fetner stated his belief that the search warrant did in fact

 

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1 |] encompass the binders. Glick retrieved the binders and placed them into evidence with all of the
2 {{ other documents.
3 18. On or about June 22, 2009, Glick met with Chief Armstrong at Armstrong’s
4 || request. When Plaintiff arrived, he met with Chief Armstrong, Assistant Chief Schuster, Captain
5 || Marcie Vail, and Sergeant Cano. Plaintiff had three other detectives with him but Chief
6 || Armstrong initially voiced his objection to the other detectives attending the meeting with
7 || Plaintiff. Armstrong was visibly upset and immediately asked (1) whether Plaintiff intended to
8 || file charges against Leung and Jang; (2) the amount of the bail; and (3) who had requested a bail
9 jj enhancement against the defendants.
10 19. After Glick answered the Chief’s questions, Chief Armstrong stated that the
11 || position of the City was that the investigation had been made on behalf of the EMPOA, not the
12 || City or the Police Department. Armstrong accused the EMPOA of publicly attacking Leung in
13 || the past. Plaintiff and the other detectives voiced opposition to Armstrong’s assertion. Plaintiff
14 || then referenced Armstrong's comment regarding Leung being shady. The other administrators
15 |] in the room all appeared surprised by this revelation. Armstrong confirmed his earlier comment
16 || and then abruptly ended the meeting.
17 20. Within weeks, Plaintiff was approached by an accountant for Leung and Jang.
18 || She detailed several of the irregular and unlawful accounting and billing practices used by the
19 || Titan Group to defraud the City of El Monte out of at least $700,000.00. She also produced
20 || physical evidence to prove the same. Also, two former of employees of the Titan Group
21 || corroborated her statements. The investigation produced evidence strongly suggesting political
22 || corruption within the City of El Monte linked to the Titan Group.
23 21. Based on information and belief, the El Monte Police Department received and/or
24 || receives rent-free office space from the Titan Group wherein it houses its Internal Affairs
25 || Department.
26 22. Based on information and belief, at least one El Monte City Councilperson
27 || received substantial unreported gifts from John Leung and the Titan Group.
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| 23. Based on information and belief, Armstrong—and Marcie Vail at Armstrong's

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direction—made numerous attempts to have property seized under the Titan Group investigation
3 || released to City officials, Based on information and belief, Armstrong also wanted the money in

the frozen Titan accounts to be released to the Defendants.

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24. Based on information and belief, Armstrong facilitated the diversion of real estate
revenues that would have normally been deposited into the frozen accounts, into new accounts
wherein the revenues could be paid back to the City and to Leung to be used in his legal defense.

25. In the ensuing weeks, Plaintiff received a phone call from an attorney at the

o PRP NH

District Attomey’s office expressing concern over multiple inquiries made by Armstrong and his
10 || staff regarding the procedures necessary for having the money and property released from the

11 {| Titan Group investigation. The attorney thought it was highly irregular and inappropriate.

12 26. Based on the apparent conflict of interest between the Titan Group investigation
13 |} and the City of El Monte, the Los Angeles County District Attorney’s Public Integrity Division
{4 || assumed the criminal investigation.

15 27. In or about June 2009, based on information and belief, Chief Armstrong

16 || approached members of the EMPOA and encouraged them to recruit others who were more

17 || likely to further the agenda of his administration to run for Board of Director positions in an

18 |] attempt to influence the makeup of the EMPOA Board. Based on information and belief,

19 || Armstrong sent emails in the same vein.

20 28. On or about July 29, 2009 an email was sent to all police personnel with new El
21 |} Monte Police Department directives attached. In this email there were several revisions to

22 |} existing policies as well as a new police which was, “Directive Supervisor Notification 09-06

23 || titled 600.3 Supervisor Notification. (Refer to EMPD Department Directive 09-06 section

24 || 600.3). This directive essentially states, in part, that employees must notify supervision of

25 || investigations regarding high profile individuals. .

26 29.  Onor about August !2, 2009, Detective George met with Armstrong, who

27 || brought up the Titan Group case stating, “This is not the reason you're going back to patrol, but I

28 || feel it is a matter of distrust you guys had with management.”

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30. On or about August 13, 2009, Lt. Hernandez was assigned to supervise the
detective bureau. Based on information and belief, this assignment was ordered to more closely
monitor Plaintiff's activities as a result of the Titan Group investigation. Since Lt. Hernandez
was assigned to this position, he has routinely shown hostility towards Plaintiff that is
inconsistent with the manner in which he treats other similarly situated employees. Several
employees have approached Plaintiff and offered statements regarding Hernandez’ stated
opposition to the EMPOA and his intentions to retaliate against Plaintiff.

31. | Onor about August 19, 2009, Plaintiff was given a counseling memorandum
prepared by Lt. Hernandez that accuses Plaintiff of policy violations regarding the improper
handling of evidence. Based on information and belief, Plaintiff's actions as outlined in the
memo are consistent with past practices in the detective bureau. Notably, during the documented!
counseling session, Lt. Hernandez accused Glick of being more concemed with Titan Group
evidence than evidence from other investigations. Furthermore, the exact same conduct for
which Glick was admonished in the memo, was later approved of by Lt. Hernandez as it related
to another officer.

32. Based on information and belief, Lt. Hernandez has himself violated protocols for
handling evidence on at least two instances since disciplining Glick for the same.

33. Further evidencing Defendant Hemandez’ complete disregard for Department
policy and procedure involved a traffic collision that occurred in or about 2008. Based on
information and belief, Hernandez unlawfully deleted a computer entry regarding the traffic
collision in order to destroy evidence that his friend had been found at-fault in the accident.

Only after the non-at-fault driver demanded a copy of the report, stating that he knew the report
existed, was the entry restored by another El Monte Police Lieutenant. Based on information

and belief. this is not the only instance in which Defendant Hernandez abused his position to
influence the outcome of a traffic investigation based on his personal relationship with one of the
involved drivers.

34. —_ In or about late August/early September, Armstrong invited Glick to lunch to

discuss EMPOA issues. During the lunch, Glick told Armstrong he was being singled-out and

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Case 2:12-cv-07443-PSG-VBK Document1 Filed 08/29/12 Page14o0f27 Page ID#:27

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treated differently because of his role in the Titan Group investigation and his rofe as president off
the EMPOA.

35. Glick has informed Chief Armstrong that he is being retaliated against by Lt.
Hernandez. Armstrong has completely failed to address the issue. In addition, after City
Manager Rene Bobadilla took over, he immediately began a campaign to retaliate against Glick
for his protected activities and the disclosures he has made.

36. Bobadilla personally prohibited Schuster from assigning EMPOA President Brian
Glick to a specialized assignment-a joint task force-for which he was deemed to be the most
qualified, purely out of spite, ill will and hatred for Glick’s protected activities and disclosures.
On June 13, 2011, Bobadilla threatened Schuster that although Glick was selected for the
assignment, he was not to allow him to go under any circumstances. Bobadilla indicated to
Schuster that he didn’t care how he did it, but Glick was not going to the assignment. Bobadilla
stated that if Glick was going to meddle with City politics, Bobadilla is going to fuck with
Glick’s livelihood. Bobadilla stated that he wants to keep Glick right at the Department “under
his thumb” and we will see who has the last laugh.

37. Hernandez, along with other high ranking Department personnel, have admitted
that they felt this action by Bobadilla was unnecessary and retaliatory, and have stated that they
were placed in an awkward position by having to manufacture a pretextual basis to not select
Glick for the position. In fact, Glick was the subject of ongoing ridicule and jokes amongst
Department management as he spent months preparing for the specialized assignment.
Department management would ridicule Glick as he prepared knowing that in the end Glick was
not going to the assignment. In fact, by intentionally failing to notify Glick or the task force that
Glick was not going to join the task force, money was spent by both Glick and the task force
preparing for his addition. This tax payer money was ultimately wasted, simply in furtherance off
the retaliatory effort. By not being assigned to this position, Glick suffered financial and
emotional damages. These actions demonstrate the extent at which Defendants will go to exact

revenge.

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COMPLAINT

 

 
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1 38. On September 13, 2011, Glick was notified by Schuster that he would not be

2 || given the assignment, despite the fact that he had already been selected. Schuster’s excuse was

3 || “staffing levels and budget,” the very same excuse high ranking Department personnel

4 || previously indicated they would manufacture to keep Glick from going to the assignment.

5 39. Bobadilla, and his agents, have unilaterally sought out a basis to retaliate against

6 || Glick. For example, Hernandez, at Bobadilla’s request, contacted the Department of Child and

7 |] Family Services to illegally obtain the complete file on Glick to determine whether he had done

8 || anything wrong in those proceedings, despite the fact that no one had complied that he had. This

9 || action in seeking out misconduct to retaliate against Glick is unprecedented. In addition, the
10 || Defendants are illegally in possession of sealed and confidential documents relating to Glick that
11 |] were obtained through illegal sources, under color of authority.
12 40. _ Furthermore, Glick has been denied reasonable requests to flex his time by a mere.
13 |] 10 minutes in order to drive his daughter to school; the denial of these requests is in stark
14 |} contrast to other Department members who have been allowed to flex their time. The denial of
15 {| these requests has been made out of retaliation against Glick.
16 41. Further, Glick has been denied the right to wear the same uniform as other
17 || similarly situated officers. This action was taken, again, out of retaliation. Glick was unlawfully
18 |} the subject of an internal affairs investigation regarding trivial matters that were years old, and
19 |{ later was admonished in writing for the incident. Glick has been negatively marked down on his
20 |j annual evaluation for use of EMPOA release time, which is granted to him by the City. No other
21 || EMPOA Board Members have had such negative entries.
22 42. Defendants and management personnel have encouraged members who are not
23 || supporters of Bobadilla to not run for the EMPOA Board of Directors, and that if they do, they
24 || will ruin their careers. Management routinely specifically monitors Glick’s attendance to
25 || determine whether he is late to work; they perform no such monitoring of other employecs.
26 || Glick has been ordered to conduct absolutely no political or EMPOA business on duty despite
27 || the fact that Defendants conduct political business on duty and Defendants have specifically
28 {j allowed other employees to conduct EMPOA and political business on duty. Weldon and

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COMPLAINT

 

 

 

 

 
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Armstrong have public stated, in particular at Armstrong's retirement party, that Glick and
EMPOA have caused problems for them.

43. Glick has been told by high ranking officials that he is being watched more
because he is the “main guy” on the EMPOA Board. They have also indicated that they are
going to put Glick “in his place.” Management personnel have intentionally placed Glick at a
certain desk so that he is visible and they can observe everything he is doing and Saying, in the
hopes that they can find some basis to discipline and retaliate against him.

44. On March 31, 2011, Glick met with retired Chief of Police Ken Weldon. Weldon
indicated that Steve Schuster contacted him and needed his help and asked if he would sit down
and speak with Glick. During the conversation, Weldon indicated he wanted to talked about
Glick’s future. Weldon indicated that Schuster, the soon to be new Chief, wanted Glick to
promote to Sergeant, but that he would not be promotable as long as he remained the EMPOA
President and friends with the Mayor. Glick indicated that he is not the type of Sergeant
administration wants as he does not go after people. Weldon responded that “well that’s what I
figured and that’s what you are.” Weldon threatened “you're in the way, there’s a train comin’,
if you don’t wanna get run over get the fuck out of the way and stop being friends with the
Andre.”

45. Bobadilla solicited a complaint from owners of a local brewery against Glick and
another EMPOA Board Member, Eric Walterscheid, for allegedly threatening and harassing the
owners. The owners met with Bobadilla on an unrelated matter and when the fact that Glick and
Waiterscheid were mentioned in passing, Bobadilla specifically sought negative information
from the owners about Glick and Walterscheid. As a result, Bobadilla initiated a frivolous
internal affairs investigation on Glick and Walterscheid. Walterscheid was placed on
administrative leave regarding the matter. The owners later testified that Bobadilla misconstrued
their comments and that Glick and Walterscheid had done nothing wrong.

46. Bobadifla has made clear that he despises the EMPOA. the political and social
causes the EMPOA engages in, as well as the EMPOA Board of Directors and its President

Brian Glick, in particular. Bobadilla has openly made remarks to numerous individuals stating

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COMPLAINT

 
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that: “the EMPOA is fucked; “they [referring to the EMPOA and Board Members) are going
down;” “I’m going to take the EMPOA down;” “Walterscheid is going down; “Glick is going
down.” and “I’m going to get rid of all those fuckers.” Bobadilla further revealed to individuals
intimate details regarding a confidential internal affairs investigation involving an EMPOA
Board Member, in violation of state and federal law. Bobadilla expressed hostility towards this
members stating that he “will never see this Department again; he is not coming back to work.”

47. _ Bobadilla has facilitated a political environment aimed at breaking the EMPOA.
For example, he has high ranking officials asking tenured officers “which side the employee is
on, admin’s side or the EMPOA’s side.” Former employee Brian Helien was retaliated against
for disclosing illegal activities by Bobadilla including illegal bidding and illegally gifting City
property and funds. In retaliating against Helien, Bobadilla threatened Hetien Stating “are you
gonna turn out to be another Brian Glick, well fine then I’ order you not to come around my
office also.” Bobadilla was referring to the fact that he had previously ordered Glick not to come
near Bobadilla or talk to him due to his hatred for Glick.

48. In or about November 2009, based on information and belief, Hernandez
responded to a comment regarding this recent transfer by stating that he was being sent to the
Detective Bureau to “clean up the mess.”

49. Based on information and belief, Hernandez frequently sends others to separate
Glick from other EMPOA members and inquire as to whether or not they were discussing
EMPOA business.

50. On or about November 30, 2009, based on information and belief, Captain Vail
sent an email to Captain Hopkins containing a disparaging comment about Glick ostensibly
based on his participation in the Titan Group investigation.

Si. Glick was recently given a negative mark on an annual evaluation based on the
violation of an obscure email policy. Based on information and belief, there is no mention of the
same violation in the evaluations of several other officers who were placed on notice for

violating the same policy.

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1 52. On or about December 2009, Captain Hopkins sent several text messages

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regarding his intention to retaliate against Glick. Specifically, he stated that that there was no

need to worry because Glick would be gone soon or dealt with soon.

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4 53. | Onor about December 29, 2009, Glick sent an email to a supervisor that
5 || mentioned retaliation. On or about Thursday January 21, 2010, Defendant Hernandez ordered
6 || Glick to prepare a memorandum regarding the retaliation he had been subjected to by the
7 || Department. He set the “due date” of the memo as the following Monday. Glick asked for more
_ 8 {| time to prepare the memo due to his obligations as parent of a young daughter. When Glick
9 || asked for a week to prepare the memo, Hernandez called him “difficult.” That same day,
10 || Hernandez emailed Glick setting the deadline as Tuesday January 26" at 9:00am.
ll 54. On January 26, 2010 at approximately 8:40am, Glick provided Hernandez with a
12 |] nine-page draft copy of a Tort Claim (listing, among others, Hernandez as a defendant) prepared
13 || by his designated legal counsel setting forth, in detail, the facts relating to his retaliation claims.
14 || Glick also provided a letter from his law firm explaining that the Tort Claim draft should satisfy
15 {| the memorandum requirement.
16 55. On January 28, 2010, Glick was ordered by Defendant Hernandez into Captain
17 || Marcie Vail’s office. Glick was not informed of the nature of the mecting. Glick was provided
18 || with a memo from Captain Vail entitled “Order to Complete Memorandum as Assigned.” The
19 || memo states the Captain’s belief that ‘a communication from [Glick’s] attorney does not
20 || constitute completion of the memorandum ....” It goes on to state Vail’s curious conclusion
21 || that notwithstanding the detailed information in the Tort Claim, Glick has “not provided the
22 || Police Department / City the information with which to address the [retaliation] issue or launch
23 |} an investigation into such charges.” Remarkably, Vail re-ordered Glick to provide a
24 || “memorandum delineating the retaliation [Glick] has suffered” by February 4, 2010 at 5:00pm.
25 || This order was a transparent attempt to further retaliate and harass Glick.
26 56. Based on information and belief, Defendant Hernandez told another officer that
27 || one of the door locks to the Detective Bureau was being changed so as to monitor which

28 |] individuals visit Glick and for how long.

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57. ‘It is clear that Defendants have retaliated against Glick for the lawful exercise of
his individual civil rights and liberties of free expression and participation in labor, union, and
political activities. Defendants have further retaliated against Glick for his reporting of
violations of state and federal law. Glick did nothing more than exercise his Constitutional rights
and rights under the Public Safety Procedural Bill of Rights Act.

58. Glick was subjected to adverse employment actions as a result of engaging in the
aforementioned protected speech activities. There exists no legitimate justification for taking the
adverse actions against Glick. Furthermore, Defendants’ willingness to interfere in EMPOA
matters and Defendants’ open and obvious hostility toward the EMPOA, and by extension its
president—Glick, evidences Defendants’ complete lack of respect for both federal and state
employment laws.

59. Plaintiff has exhausted all administrative remedies to compel the relief sought
herein, including the filing of a Claim for Damages which has been rejected by Defendants.

FIRST CAUSE OF ACTION
Retaliation — Labor Code
[Labor Code § 1102.5]

 

Against the City of El Monte

60. Plaintiff hereby incorporates each and every preceding paragraph as though set
forth in full here.

61. Labor Code section 1102.5 prohibits an employer, among other things, from
retaliating against an employee for disclosing a violation of state or federal statute, or a violation
or noncompliance with a state or federal rule or regulation.

62. As discussed above, Plaintiff disclosed and actively opposed Defendants’
violations of state and federal law. Defendants’ actions against Plaintiff, regardless the pretext,
was done in retaliation for said disclosures, and thus violates section 1102.5.

SECOND CAUSE OF ACTION
Attempts to Control Employee’s Political Activities or Affiliations —- Labor Code
[Labor Code § 1101, 1102}

 

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63. Plaintiff hereby incorporates each and every preceding paragraph as though set
forth in full here.

64. California Labor Code sections 1101 and 1102 prohibit the controlling or
directing, or tending to control or direct the political activities or affiliations of employees as
well as the coercion of employees’ political activities.

65. In engaging in the aforementioned speech activities, Plaintiff engaged in activities
protected by these statutes. As a direct result of the Plaintiff’s disclosures, the Defendants took
the aforementioned adverse actions against him. Absent said speech activities, Defendants
would not have taken said actions. In doing the things alleged herein, Defendants, and each of
them, violated the rights of Plaintiff as set forth herein.

THIRD CAUSE OF ACTION
Retaliation — Public Safety Officers Procedural Bill of Rights Act
[Gov't Code §§ 3302, 3309.5]

 

Against the City of El Monte

66. _ Plaintiff hereby incorporates each and every preceding paragraph as though set
forth in full here.

67. Government Code section 3302 states, in part, that “no public safety officer shall
be prohibited from engaging, or be coerced or required to engage, in political activity.”

68. Government Code Section 3309.5 provides that where it finds that a public safety
department has violated any of the provisions of the Public Safety Officers Procedural Bill of
Rights Act (Gov’t Code sections 3300 et seq.), to render appropriate injunctive or other
extraordinary relief to remedy the violation and to prevent future violations of a like or similar
nature including, but not limited to the granting of a temporary restraining order, preliminary or
permanent injunction prohibiting the public safety department from taking any punitive action
against the public safety officer.

69. Defendant City of El Monte employs law enforcement personnel. including
Plaintiff, and is charged with the duty of acting in accordance with the requirements of state law,

including Government Code section 3300 et seq.

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70. Defendants maliciously violated Government Code sections 3300 et seq. with the
intent to injure Plaintiff in retaliation for the lawful exercise of his Statutory and constitutional
nights. Defendants are therefore liable for a civil penalty not to exceed twenty-five thousand
dollars ($25,000) for each violation, for reasonable attorney's fees as may be determined by the
court, as well as Plaintiff's actual damages, as provided in Government Code Section 3309.5. In
engaging in the aforementioned activities, Plaintiff engaged in activities protected by these
statutes. As a direct result of the Plaintiff's protected speech, activities, and disclosures, the
Defendants took the aforementioned adverse actions against them. Absent said speech,
Defendants would not have taken said actions. In doing the things alleged herein, Defendants,
and each of them, violated the rights of Plaintiff as set forth herein.

71. In doing the things alleged herein, Defendants acted with malicious intent to
violate Plaintiff's rights, or at least in conscious, reckless, and callous disregard of Plaintiff's
rights and to the injurious consequences likely to result from a violation of said rights. General
and special damages are sought according to proof. Punitive damages are sought against the
individual defendants, according to proof.

FOURTH CAUSE OF ACTION
Retaliation ~ Meyers-Milias-Brown Act
[Gov't Code §§ 3502.1, 3502, 3506]

72. Plaintiff hereby incorporates each and every preceding paragraph as though set
forth in full here.

73. Califomia Government Code section 3502.1 states that “No public employee shall
be subject to punitive action or denied promotion, or threatened with any such treatment, for the
exercise of lawful action as an elected, appointed, or recognized representative of any employee
bargaining unit.“

74. | Government Code sections 3502 and 3506 prohibit public agencies from
interfering with, or discriminating against, public employees because of their participation in the
activities of employee organizations for the purpose of representation on all matters of employer-

employee relations.

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75. In engaging in the aforementioned speech activities, Plaintiff engaged in activities

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2 || protected by these statutes. As a direct result of the Plaintiff's disclosures, the Defendants took

3 || the aforementioned adverse actions against him. Absent said speech activities, Defendants

4 |] would not have taken said actions. In doing the things alleged herein, Defendants, and each of

5 |{ them, violated the rights of Plaintiff as set forth herein.

6 FIFTH CAUSE OF ACTION

7 Free Speech Retaliation

8 [42 U.S.C. § 1983]

9 76. Plaintiff hereby incorporates each and every preceding paragraph as though set
10 |{ forth in full here.
il 77. ~Asadirect result of Plaintiff exercising his First Amendment rights, Defendants
12 || took the aforementioned adverse actions against Plaintiff. Absent said protected speech, Plaintiff
13 || would not have been subjected to the aforementioned adverse employment actions and would not
14 || have been harmed.
15 78. The various acts of intimidation, reprisal, retaliation, suppression and/or restraint
16 }| exercised by Defendants against Plaintiff has created a chilling effect on his legitimate exercise
17 j| of speech by creating fear, hesitation, hostility and other destructive responses.
18 79. In doing the things alleged herein, Defendants, and each of them, violated the
19 {I rights of Plaintiff under the First and Fourteenth Amendments to the United States Constitution

20 |} to free expression. Specifically, Defendants have taken the aforementioned action against

21 || Plaintiff in direct retaliation for, and in response to the protected activities of Plaintiff.

22 80. The acts and omissions of Defendants, and each of them, were done by

23 || Defendants under color of state law and as policy making authorities to which Defendant City
24 || delegated its governing powers in the subject matter areas in which these policies were

25 || promulgated or decisions taken or customs and practices followed. The acts and omissions

26 || described above were taken by the City’s official policy makers as members charged with such
27 || responsibility. It was or should have been plainly obvious to any reasonable policy making

28 || official of the City that the acts and omissions of Defendants as alleged herein, taking singly or

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COMPLAINT

 
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in conjunction, directly violated and continued to violate Plaintiff's clearly established
constitutional and statutory rights. In doing the things alleged herein, Defendants acted with
malicious intent to violate Plaintiff's rights, or at least in conscious, reckless, and callous
disregard of Plaintiff's rights and to the injurious consequences likely to result from a violation
of said rights. General and special damages are sought according to proof. Punitive damages are
sought against the individual defendant, according to proof.

81. Plaintiff has no plain, speedy nor adequate remedy at law to prevent future
violations of his civil rights, and therefore seeks extraordinary relief in the form of permanent
injunctions, as hereafter described. Damages alone are inadequate and injunctive relief is sought
to command Defendants to place Plaintiff in the position he would have been in, absent the
unlawful conduct of Defendants.

WHEREFORE, Plaintiff prays for:

I. General, compensatory, and special damages according to proof;

2. Punitive damages against the individually named defendants only;
3. Injunctive relief ordering Defendants
a) To immediately return Plaintiff to the position he would have been in

had he not been subjected to the adverse employment actions:

b) To expunge any negative personnel documents provided by
Defendants relating to the adverse actions that are the subject of this
action; and

c) To take any and all necessary and reasonable steps to remove the

stigma and negative perception of Plaintiff:

4, Attorney's fees as permitted by law;

5. Costs of suit;

6. Interest as provided by law; and

7. Each other and further relief as the Court deems just and proper.
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Dated: March 29, 2012 Respectfully Submitted,

 
  
 
 

& MCGILL APC

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5 Mictftiel A. McGill
b Christopher L. Gaspard

Attorneys for Plaintiff,

7 BRIAN GLICK
8
9 DEMAND FOR TRIAL BY JURY

10 Plaintiff hereby demands a trial by jury.

{2 || Dated: March 29, 2012

 

 

15 Michael A. McGill
Christopher L. Gaspard
Attorneys for Plaintiff,
17 BRIAN GLICK

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COMPLAINT

 

 
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EXHIBIT “B”
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SUM-100
SUMMONS FOR COURT USE ONLY
(CITACION JUDICIAL) (BOLO PARA USO DELA CORTE)
NOTICE TO DEFENDANT:
(AVISO AL DEMANDADO): ORIGINAL FILED
CITY OF EL MONTE, a municipal corporation; RENE BOBADILLA,
individually and as City Manager for the City of El Monte (Attachment) APR 02 2612
YOU ARE BEING SUED BY PLAINTIFF:
(LO ESTA DEMANDANDO EL DEMANDANTE): LOS ANGELES
BRIAN GLICK SUPERIOR COURT

 

 

NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
below.

You have 30 CALENDAR DAYS after this summons and lagal papers are served on you fo file a written response at this court and have a copy
served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
case. There may be a court form that you can use for your response. You can find these court forms and more information at the Califomia Courts
Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse-nearest you. If you cannot pay the filing fee, ask
the court clerk for a fee waiver form. if you do not file your response on time, you may lose the case by default, and your wages, money, and property
may be taken without further warning from the court.

There are other legal requirements. You may want to call an attorney right away. ff you do not know an attomey, you may want to call an attomey
referral service. if you cannot afford an attommey, you may be eligible for free legal services from a nonprofit legal services program. You can locate
these nonprofit groups at the California Legal Services Web site (www.lawhelpcaifomia.org), the Califomia Courts Online Self-Halp Center
(aww. courtinfo.ca.gov/selthelp), or by contacting your focal court or county bar association. NOTE: The court has a statutory fien for waived fees and
costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
JAVISOI Lo han demandado. Si no responde dentro de 30 dias, la corte puede decidir en su contra sin escuchar su versién, Lea la infarmacién a
continuacién.

Tiene 30 DIAS DE CALENDARIO después de que fe entreguen esta citacidn y papeles legales para presenter una respuesta por escrito en esta
corte y hacer que se entregue una copia al demandante. Una carta o una llamada telefénica no lo protegen. Su respuesta por escrito tiene que estar
en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
Puede encontrar estos formutarios de fa corte y mas informacién en el Centro de Ayuda de las Cortes de Califomia (www.sucorte.ca.gov), en la
biblioteca de leyes de su condado o en fa corte que fe quede mas cerca. Si no puede pager la cuota de presentaci6n, pida al secretano de la corte
que le dé un formulario de exencién de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incurmplimiento y la corte le
podré quitar su suetdo, dinero y bienes sin més advertencia.

Hay otros requisitos legales. Es recomendable que lame a un abogado inamediatamente. Sino conoce a un abogado, puede llamar a un servicio de
remision a abogades. Si no puede pagar a un abogado, es posible que cumpia con fos requisitos para obtener servicios legales gratuitos de un
programa de servicios legates sin fines de lucro. Puede encontrar estos grupas sin fines de lucro en el sitio web de California Legal Services,

(aww Jawhelpcalifomia.org), en ef Centro de Ayuda de las Cortes de Califomia, (wwe.sucorte.ca.gov) 0 poniéndose en contacto con Ia corte o el
colegio de abogadas locales. AVISO: Por ley, la corte tiene derecho a reclamar las cuotas y los costes exentos por imponer un gravamen sobre
cualquier recuperacién de $10,000 6 més de valor recibida mediante un acuerdo o una concesién de arbitraje en un caso de derecho civil. Tiene que
pagar el gravamen de la corie antes de que la corle pueda desechar ef caso.

 

 

 

 

 

The name and address of the court is: CASE NUMBER:
{El nombre y direccién de fa corte es): mane wal G 0 0 4 4 9 5.
Los Angeles Superior Court - Pomona South Court House _ Ra

400 Civic Centcr Plaza, Pomona, CA 91766

The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attomey, is:
(El nombre, la direccién y el ndmero de teféfano del abogado del demandante, o del demandante que no tiene abogado, es):

Christopher L. Gaspard, Esq.. 367 N. Second Ave., Upland. CA 91786
an
pare. APR O2 202 rk, by L. MASCORRO deputy

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ae UES? " ey ~ -
(Fecha) frill AO) AG Becretario) (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citatién use el formulario Proof of Service of Summons, (POS-010)).
NOTICE TO THE PERSON SERVED: You are s

 

 

 

 

 

ISEAU 1. ([7] as an individual defendant. OR *
2. [_] as the person sued under the fictitious EOE SS TO
4 1 en behat of eect JUDGE ROBERT A. DUKES
under: [__] CCP 416.10 (corporation) “Eo ] «cep 416.60 (minor)
[=] CCP 416.20 (defunct corporation) ["] CCP 416.70 (conservatee)
["_] CCP 416.40 (association or partnership) (<_] CCP 416.90 (authorized person)
(""] other (specify):
4. [__] by personal dativery on (date):
Page 1 of 4
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PROOF OF SERVICE

STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

Iam employed in the County of Los Angeles, State of California. I am over the
age of eighteen and not a party to the within entitled action. My business address
is 500 North Brand Boulevard, Suite 1660, Glendale, California 91203.

On August 29, 2012, I served the foregoing document(s) described as NOTICE
OF REMOVAL OF CIVIL ACTION on the interested parties in this action by
placing in the U.S. mail, an [ ] original or M4 true copies thereof enclosed in a
sealed envelope with postage prepaid and addressed as follows:

Joel W. Baruch, Esq. Attorneys for Plaintiff,
Nikki Fermin, Esq. BRIAN GLICK

Law Offices of Joel W. Baruch, PC

2020 Main Street, Suite 900

Irvine, California 92614

Tel: 549) 864-9662

Fax: (949) 851-3185

[X] Y MAIL) I caused such envelope to be deposited in the mail at
lendale, California. The envelope was mailed with postage thereon fully

paid. As follows: I am “readily familiar” with the firm’s practice of
collection and processing correspondence from mailing. Under that
practice it would be deposited with the U.S. postal service on that same day
with postage thereon fully prepaid at Glendale, California, in the ordinary
course of business. J am aware that on motion of the party served, service
is presumed invalid if postal cancellation date or postage meter date is
more than one day after the date of deposit for mailing in affidavit.

[ ] (BY FACSIMILE TRANSMISSION) I caused a true and complete copy
of the document described above to be transmitted via facsimile
transmission to the telephone number(s) set forth opposite the name(s) of
the person(s) set forth above.

[ ] (BY ELECTRONIC TRANSMISSION) I caused such document to be
elivered via electronic transmission to the addressee listed above.

[X] (FEDERAL) I declare under penalty of perjury under the laws of the State
of California that the above is true and correct.

I served the documents by the means described above on August 29, 2012.
I declare under penalty of perjury under the laws of the State of California that the

foregoing is true and correct. ——
Delyn Spiers hie)

(Type or Print Name) ~Gignature gp pelarant)

4.
NOTICE OF REMOVAL OF CIVIL ACTION

 

 
